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                     Exhibit
                     Exhibit A
                             A
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                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION



 ARTHUR           J. GALLAGHER         & CO.,
                                                                          Case No.:




                                                                  Ne
                     Plaintiff,




                                                                  Nf
                                                                  dN
             ve                                                          DEMAND       FOR JURY TRIAL




                                                                  Nr
 ALLIANT INSURANCE SERVICES, INC.




                                                                  Ne
                                                                  Nr
                     Defendant.




                                                                  Ne
                                                                  Sr’
                                  DECLARATION OF JEFFREY DEVRON

        1, Jeffrey Devron, declare under the penalties of perjury as follows:

        1.          I am an employee         of Plaintiff Arthur J. Gallagher & Co. (“Gallagher”).                   I

respectfully       submit   this    declaration   in   support      of Gallagher’s     Emergency        Motion   for

Temporary and Preliminary Injunctive Relief.

        2.          1 am the area president of Gallagher’s Chicago office. I have served in that role

since   approximately        June    2015.   Before    then,     I served      as managing   director     at Marsh

McLennan          for more than fourteen years. Prior to joining Marsh                  McLennan,       I was vice

president at Gallagher. In total, I have approximately 28 years of experience in the insurance

brokerage industry.

        3.          I am familiar with the facts underlying this litigation. Kristen Long, Jordan

Laeyendecker, Taylor Gunnells, Janet Schumacher,                          Melissa Haggerty, Rosario Zaragoza,

Sara Arnold,        and Kelly       Hogan    (the “Resigning            Employees”)   all worked   for Gallagher
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supporting its Chicago, Illinois office!—up until they each initiated the resignation process

from Gallagher on or about July 11, 2022 to July 13, 2022, without 21 days’ written notice,

resigning either “effective        immediately”      or “effective” the same       day that they notified

Gallagher of their resignation. The Resigning Employees,                  as part of the Chicago office,

reported to me in my capacity as area president.

         4,        Gallagher    responded      promptly   to these   actions.   It notified   the Resigning

Employees that they remained Gallagher’s employees throughout their 21-day notice period,

that Gallagher would continue to pay them as employees during this period, and that they

were     expected to honor       all aspects     of their employment      agreements       with Gallagher—

including the restrictive covenants contained therein. Gallagher demanded that the Resigning

Employees bring their mobile devices to Gallagher’s offices in compliance with Gallagher’s

Mobile        Device   Policy   that   the   Resigning     Employees      signed    (the   “Mobile   Device

Agreement”). Gallagher provided the Resigning Employees with copies of their respective

employment agreements and also provided copies of the Mobile Device Agreement to which

certain Resigning Employees            agreed—which       is intended to and does protect Gallagher’s

Confidential Information, property, and money because, when departing employees comply

with the Notice Provision, Gallagher is typically successful in retaining the vast majority of

client business affected by the departures. Gallagher also notified the Resigning Employees

that their duties as an employee—including their fiduciary duties to Gallagher—remain in full

force and effect, that they must refrain from any conduct or activity that does not serve

Gallagher’s best interests, that Gallagher expected them to honor their commitment to help




! Taylor Gunnells and Sara Arnold were physically located in North Carolina and Las Vegas,
respectively, but they reported in to the Chicago office and worked remotely to support Gallagher’s
team in Chicago.
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Gallagher transition their responsibilities—including client representation responsibilities—

to other Gallagher personnel (which the Resigning Employees have refused to do) and that

retention or use of Confidential Information is a violation of their employment agreements.

           5.        The Resigning Employees, through their counsel, repudiated the notion that

they remained Gallagher employees, demanded that Gallagher not pay them through the

contractually-negotiated Notice Period, and refused to comply with their Mobile Device

Agreements.          Moreover,    the Resigning     Employees     have   not assisted   Gallagher   with the

transitioning of client accounts.

           6.        Gallagher also put together a significant compensation package to try to keep

Hogan, but she declined informing Gallagher that the offer was not even close to what Alliant

was offering.

           7.        I am familiar with the clients that the Resigning Employees serviced while they

were employed by Gallagher, the nature of the Resigning Employees’ relationships with these

clients,        and the types    of Gallagher     proprietary   information   and work-product      that the

Resigning Employees would have used to service those clients.

           8.        I am also familiar with the ongoing impact on Gallagher’s Chicago office

stemming from the Resigning Employees’ decision to leave Gallagher and become employees

of its competitor, Defendant Alliant Insurance Services, Inc. (“Alliant™).

           S.        On the same day Long and her colleagues began resigning, Alliant immediately

began soliciting Gallagher’s clients that were serviced by Long and her team. An Alliant

executive informed one of the largest clients that Long and her team had joined Alliant and

that nobody remaining at Gallagher could handle the client’s account. This statement was

false. Gallagher has dozens of employees capable of servicing the clients previously serviced
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by the Resigning Employees. In fact, in the wake of the Resigning Employees’ departures,

Gallagher has quickly (at great time and expense) put together experienced teams of people

to service these accounts and ensure there is no interruption in service. That has not stopped

Alliant from continuing to solicit multiple other Gallagher clients previously serviced by the

Resigning Employees, asserting the same false claim that there is nobody at Gallagher who

can handle their accounts.

        10.      In the wake   of Resigning Employees’     mass resignation,    I have personally

spoken to numerous clients and seen first-hand the harm that the mass resignation has caused.

Numerous clients have questioned Gallagher’s ability to service their accounts and whether

Gallagher has the stability the client desires in a broker. As a result of the abrupt, mass exodus,

numerous      are considering terminating their relationship with Gallagher and moving their

business to Alliant or another broker. Every       second that Alliant is allowed to continue

soliciting and making false statements to these clients makes Gallagher’s efforts to retain the

client and partially mitigate its damages all that more difficult.

        11.      The harm to Gallagher as a result of Alliant’s conduct is ongoing and it cannot

be fully or adequately addressed with monetary damages. The harm Gallagher has suffered

and will suffer extends well beyond lost clients, lost employees, and lost revenue. It includes

the loss and ongoing misuse of Gallagher’s trade secrets and confidential information, which

I believe Alliant and the Resigning Employees         already have used or disclosed, and will

continue to use or disclose, to solicit and thereafter service Gallagher clients who transfer their

business to Alliant as well as prospective clients of Gallagher. The harm to Gallagher also

includes the loss of customer goodwill, future revenue, and business expertise; reputational

harm,   including the ability to retain clients and attract new clients; and the loss of its
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competitive position. All of these harms are very difficult, if not impossible, to quantify.

       Gallagher Faces Irreparable Harm Through the Improper Use and Disclosure of Its
       Confidential Information.

       12.       Gallagher has, over many years and at great effort and expense, developed,

accumulated,     maintained,    and    refined   trade    secrets    and   other    confidential      information,

including among        other things,   client-specific pricing, key client contacts,               client-specific

manuals, client-specific marketing and servicing strategies, exposure and rating information

in the pricing of clients’ insurance/reinsurance products, buying trends, the composition and

the unique risks inherent in a clients’ operations, details concerning the structure, conditions,

and extent of insurance/reinsurance policies, policy expiration dates, premium                           amounts,

commission rates, loss histories, data relating to Gallagher’s unique marketing and servicing

programs,     and the criteria and formulas used by Gallagher                   in pricing its insurance       and

benefits, and compensation information for Gallagher employees.

       13.        Gallagher’s trade secrets and confidential information are not generally known

to the public. Even Gallagher’s clients are not privy to certain of Gallagher’s confidential

information such as pricing information, tools used in risk assessment, and marketing and

servicing strategies, among others.

       14.       Third parties are not told by Gallagher,              for example,       internal financial or

compensation figures, the details of Gallagher’s active or upcoming                       client insurance and

renewals,     or the   proprietary     methods    by     which      Gallagher      approaches      servicing   and

maintaining its client relationships.

        15.      Gallagher takes       great care to safeguard         its trade     secrets    and   confidential

information. Gallagher has in place numerous policies designed to protect its confidential

information, and it trains its employees on the importance of maintaining the confidentiality
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of Gallagher’s work-product. It enters into non-disclosure agreements with clients. It requires

Gallagher employees to sign employment agreements containing confidentiality, customer

non-solicitation, employee non-solicitation restrictions as well as other restrictions on post-

employment conduct, including restrictions to safeguard Confidential Information. It keeps

its trade secrets and confidential information on password-protected computers, accessible

only on a need-to-know basis through a company-specific                    intranet server (also using a

username and password). Gallagher’s Chicago office requires the swiping of a key card to

gain entry.

        16.      Gallagher     requires   many      of its employees     to agree to its Mobile          Device

Agreement which provides that Gallagher employees own their personal mobile devices and

use them to conduct business for Gallagher. All but one of the Resigning Employees agreed

to the Mobile Device Agreement under which they agree that it was their responsibility to

protect corporate data on their personal mobile device and that Gallagher has the right to wipe

all Gallagher     data from the mobile          devices   if the Resigning Employees          separate from

Gallagher. This Mobile Device Agreement is designed to prevent employees such as the

Resigning      Employees     from   misappropriating       Gallagher’s    trade secrets     and     confidential

information.

        17.      Gallagher’s     trade    secrets   and   confidential   information      provide     it with      a

significant advantage over competitors              like Alliant. Armed     with Gallagher’s proprietary

information, Alliant can unfairly identify, contact, divert, and begin immediately to service

Gallagher’s clients, thus causing substantial loss of revenue to Gallagher and financial gain to

Alliant. Without Gallagher’s trade secrets and confidential information, Alliant's ability to

solicit, quickly transfer, and begin servicing a Gallagher client would be virtually impossible.
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          18.       The     Resigning             Employees     occupied      high-level        positions     of     trust   and

confidence within Gallagher. They had access to some of Gallagher’s most important trade

secrets    and confidential              information,    including,    among     many      other things,           confidential

information        about    the        client’s    insurance    preferences    and     needs,     pricing     and     coverage

requirements, risk appetite, satisfaction, premiums, deductibles, collateral levels, commission

arrangements, loss history, and renewal dates.

          19.       Access        to      Gallagher’s     confidential      information         through      the    Resigning

Employees         allows     Alliant to solicit Gallagher’s                customers     more      effectively.       Alliant’s

producers and employees will know current contract details, historical experience, and client

preferences—the type of client information that typically only an incumbent Gallagher broker

would know.             Even knowing the policy renewal                date for a particular Gallagher client is

valuable confidential information for Alliant. That information alone allows Alliant to target

a potential client at a time of year when that client is most likely to be interested in hearing

about insurance-coverage alternatives.

          20.       Given the speed at which Alliant is soliciting Gallagher employees and clients,

itis clear to me that Alliant is relying on Gallagher’s trade secrets and confidential information

to do so. Indeed, I can think of no explanation for how Alliant was able to contact so many

Gallagher clients previously serviced by the Resigning Employees in such a short period of

time, unless the Resigning Employees shared Gallagher’s confidential client lists and key

client contacts with Alliant (whether in writing or orally). In addition to the documents and

records reflecting Gallagher’s trade secrets and confidential                           information that was sent to

personal        email    accounts,        the Resigning        Employees      know     Gallagher’s        trade    secrets   and

confidential information by virtue of having serviced the clients at issue while at Gallagher.
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If they service Gallager clients at Alliant—or indirectly assist other Alliant employees in

doing so— the Resigning Employees are necessarily using and disclosing Gallagher’s trade

secrets and confidential information to Alliant who will then use such information to service

those clients.

        Gallagher Faces Irreparable Harm Through the Loss of Customer Goodwill,

        21.      Gallagher’s   client relationships   (and     goodwill)    take     substantial    time   and

resources to maintain and are one of Gallagher’s most important assets. Gallagher invests

substantial resources    into attracting,   developing,      maintaining,    and     servicing     its clients.

Gallagher does not compete with other insurance brokers based on price. Instead, Gallagher

wins clients based on its capabilities. Clients choose Gallagher because, as a company, it

provides better risk management advice than our competitors.

        22.      Because of the quality of Gallagher’s services and its heavy investments in its

client relationships, Gallagher’s clients have historically been loyal to it. Gallagher currently

has an extremely high client retention rate of approximately 94 or 95%—meaning that once

Gallagher is appointed as the broker of record, there is a good chance the customer will renew

its business with Gallagher year after year.

        23.      To maintain its extremely high client retention rate, Gallagher heavily invests

in its capabilities and practice areas. It equips its employees (who have a need to know) with

its trade secrets and confidential information. It invests substantial time and resources into the

development      of proprietary   information,   training    and employee          development,      data and

analytics. It provides its employees with the necessary resources to do their jobs, including

office space, marketing support, computer systems, administrative, clerical and sales support,

and market research. It pays for employees’ expenses incurred when meeting and entertaining
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clients and attending industry events. Gallagher’s investments enable Gallagher employees to

develop significant client-specific knowledge. Over a period of years, Gallagher’s employees

gain experience selling and placing insurance with specific clients, handling claims for

specific clients, and developing an understanding of a client’s current insurance needs as well

as its historical needs and preferences.

         24.       These substantial investments allow Gallagher employees, like the Resigning

Employees, to build and sustain client relationships. The Resigning Employees benefited from

Gallagher’s       goodwill     with   its customers,    which      it has nurtured   over many   years, with

substantial effort and significant expense.

         25.       Now, however, the Resigning Employees can and will use the goodwill that

Gallagher developed with its clients for Alliant’s benefit. Indeed, Alliant, armed with the

goodwill can and will solicit clients (both existing and prospective) away from Gallagher and

otherwise disrupt Gallagher’s relationships with customers. Once a client decides to leave,

Gallagher’s investment is lost and the process must start anew. Clients do not regularly change

their minds and return to Gallagher after executing a Broker of Record letter appointing

another broker (“BOR”).

         26.       The 21-day Notice Period in Gallagher’s Employment Agreements is critical to

maintaining Gallagher’s high retention rate as well as maintaining Gallagher’s property,

money,      and    goodwill.     During    that   period,    the   contractually-required   cooperation   and

assistance of the departing employees allows Gallagher to develop a transition plan and to

approach the client in a proactive manner                   that projects   stability despite the impending

resignation and engenders client confidence. To the contrary, where the Notice Provision is

breached,      as it was here, Gallagher is unable to proactively apprise the clients of the
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resignations. It is important to assure the client that Gallagher has qualified people to service

their needs and to allow for an introduction of those persons. However, in this case, Alliant

called several of Gallagher’s clients before Gallagher was able to inform those clients of the

Resigning Employees’ departures. When a client is blindsided in this way, the damage to

Gallagher’s reputation is immeasurable. Unsurprisingly, in my experience, when resigning

employees do not comply with their obligations under the Notice Provision, Gallagher’s

retention rate drops dramatically as compared to when the resigning employees participate in

an orderly transition of client accounts.

          27.     Regardless of whether Alliant is successful in soliciting additional clients and

prospective clients, Gallagher is harmed, and it is very difficult, if not impossible, to quantify

the extent of the harm through the loss of customer goodwill.

          Gallagher Faces Irreparable Harm in Numerous Other Respects.

          28.      Gallagher’s Chicago     office faces reputational harm as a result of Alliant’s

actions. The abruptness of the departures of the Resigning Employees, coupled with their

failure    to   honor   the   21-day   notice    provisions   in   Gallagher’s   employee     agreements,

compromised        Gallagher’s   reputation     as a dependable     and   stable force   in the insurance

brokerage industry. Existing clients, including those clients who were serviced by one of the

Resigning Employees, are likely to question (and some have questioned) whether they will

continue to get the same quality of services from Gallagher. They may be less likely to refer

new business to Gallagher. Potential new clients are likely to question whether the quality of

services that Gallagher’s Chicago office is able to provide going forward will be consistent

with the level of service they understood Gallagher to have provided in the past. Any failure

of existing clients to refer new business to Gallagher or any failure of a new client to join




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Gallagher is nearly impossible to discover, let alone quantify.

        29.       Gallagher’s Chicago office is also likely to lose future revenue because of the

ongoing solicitation of its clients, some of whom have not yet determined whether to move

their business to Alliant. It is difficult to quantify those losses at this time because Gallagher

does not yet know which additional clients are being, or will be, solicited and diverted by

Alliant with the improper assistance of the Resigning Employees. Based on Alliant’s ongoing

solicitation of clients, I know the harm to Gallagher stemming from Alliant’s actions is

ongoing. Short of receiving a BOR, Gallagher has no way of knowing which of its clients or

prospective clients are Alliant’s target, and therefore is unable to take adequate steps to

counteract its actions.

        30.      With each passing moment,     Gallagher continues to suffer loss of goodwill,

reputational harm, and other damages that are difficult to quantify.

        31.      Finally, the harm to Gallagher also includes injury to Gallagher’s competitive

position and growth opportunities. Gallagher is no longer competing with Alliant on a level

playing field. Alliant is now     armed with unique competitive knowledge         of Gallagher’s

existing and prospective clients and Gallagher’s strategies for acquiring and retaining clients.

That knowledge      gives Alliant an unfair competitive advantage, which is difficult, if not

impossible, to quantify.

        I declare under penalty of perjury that the foregoing is true and correct. Executed on
July 27, 2022.




Date:   July 27,2022




                                                11
